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     Federal Defender
2    MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    JAMES E. BLEDSOE & SUSAN E. D’ORTA
7
8                         IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,          )   No. CR-S-04-0026-WBS
                                        )
13                   Plaintiff,         )
                                        )   STIPULATION AND [PROPOSED] ORDER
14        v.                            )   SETTING STATUS HEARING; VACATING
                                        )   TCH & JURY TRIAL DATES
15   JAMES E. BLEDSOE & SUSAN E.        )
     D’ORTA,                            )
16                                      )   Date: October 25, 2006
                     Defendants.        )   Time: 9:00 am
17                                      )   Judge: Hon. William B. Shubb
     _______________________________
18
19        The United States of America through Matthew Segal Assistant
20   United States Attorney together with defendant James Bledsoe through
21   Assistant Federal Defender Matthew Bockmon, and defendant Suzan D’Orta
22   through Dwight Samuel, Esq. agree to vacate the trial confirmation
23   hearing scheduled for October 25, 2006 and jury trial of November 28,
24   2006, and set the case for status hearing on October 25, 2006 for the
25   following reasons:
26        The parties have earnestly renewed plea negotiations.
27        Defense counsel have narrowed their search for a business expert
28   down to three candidates, and hope to obtain court authorization for
              Case 2:04-cr-00026-WBS Document 84 Filed 09/25/06 Page 2 of 2


1    such services soon.
2          Counsel for the government is providing three San Diego county
3    search warrant applications relating to this case.            Defense counsel
4    will need additional time to review those applications upon receipt.
5          The Court has already excluded time from Speedy Trial Act
6    computation until October 25, 2006.
7          Therefore the parties agree to vacate the trial confirmation and
8    jury trial dates, and set the case for status conference on October 25,
9    2006.
10   Dated:    September 21, 2006
                                               Respectfully submitted,
11
                                               DANIEL J. BRODERICK
12                                             Federal Defender
13
                                               /s/ Matthew C. Bockmon
14                                             ________________________________
                                               MATTHEW C. BOCKMON
15                                             Assistant Federal Defender
                                               Attorney for Defendant
16                                             JAMES E. BLEDSOE & for DWIGHT SAMUEL
                                               Esq for SUSAN E. D’ORTA & for
17                                             MATTHEW SEGAL for the United States
                                               per telephonic authorization
18
19                                        O R D E R
20   SO ORDERED VACATING TRIAL CONFIRMATION AND JURY TRIAL DATES; SETTING
     STATUS CONFERENCE ON OCTOBER 25, 2006
21
     Dated:    September 22, 2006
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     Stipulation & Order                      -2-
